                Case 8:23-bk-11271-SC                   Doc 1 Filed 06/22/23 Entered 06/22/23 11:58:29                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Global Premier Regency Palms Colton, LP

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1900 Main Street Suite 315
                                  Irvine, CA 92614
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  839 Fairway Drive Colton, CA 92632-4000
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Global Premier Regency Palms Colton, LP                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Global Premier Regency Palms Colton, LP                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Global Premier Regency Palms Colton, LP                                    Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Global Premier Regency Palms Colton, LP                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 22, 2023
                                                  MM / DD / YYYY


                             X   /s/ Christine Hanna                                                      Christine Hanna
                                 Signature of authorized representative of debtor                         Printed name

                                         Managing Member of the General
                                 Title   Partner




18. Signature of attorney    X   /s/ Garrick A. Hollander                                                  Date June 22, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Garrick A. Hollander
                                 Printed name

                                 Winthrop Golubow Hollander, LLP
                                 Firm name

                                 1301 Dove Street, Suite 500
                                 Newport Beach, CA 92660
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     949-720-4100                  Email address      ghollander@wghlawyers.com

                                 166316 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Debtor     Global Premier Regency Palms Colton, LP                                          Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                   Chapter      11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Global Premier Regency Palms Oxnard, LP                                 Relationship to you               Affiliate
           Central District, Northern Division -
District   Santa Babara                               When     8/16/22             Case number, if known             9:22-bk-10626-RC
Debtor     Global Premier Regency Palms Palmdale, LP                               Relationship to you               Affiliate
           Central District, Northern Division -
District   Santa Barbara                              When     6/02/23             Case number, if known             9:23-bk-10454-RC




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 6
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Fill in this information to identify the case:
Debtor name Global Premier Regency Palms Colton, LP
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                 Check if this is an
                                               CALIFORNIA
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
iBorrow Reit                                        Mechanics Lien                                   $13,175,000.00                          $0.00        $13,175,000.00
Brett Kinigstein
12100 Wilshire Blvd,
Suite 510
Los Angeles, CA
90025
RCB Equities #7,                                    Loan                                               $2,866,237.00                         $0.00          $2,866,237.00
LLC
Brian Dror
5862 W. 3rd Street
Los Angeles, CA
90036
Urban Community                                                                                                                                               $867,606.73
Builders, LLC
Maher Nawar
1900 Main Street,
Suite 315
Irvine, CA 92614
Warner Design                                                                                                                                                 $247,708.75
1510 Fashion Island
Blvd Suite 2400
San Mateo, CA
94404
Christianbelle                                                                                            $189,889.10                        $0.00            $189,889.10
Electric Inc.
David Placencia
11580 I Avenue
Hesperia, CA 92345
Huntington                                                                                                $165,661.75                        $0.00            $165,661.75
Hardware Co Inc.-
Alta Finish
Diana Lam
340 W. Holt Avenue
Pomona, CA 91768




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Global Premier Regency Palms Colton, LP                                                  Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Alta Finish & Stair                                                                                       $160,172.51                        $0.00            $160,172.51
Inc.
Victor Martinez
12625 Frederick
Street #15290
Moreno Valley, CA
92553
TriMark Orange                                                                                            $119,100.51                        $0.00            $119,100.51
County
Nikki Shishido
210 Commerce
Irvine, CA 92602
Apple Valley                                                                                               $96,000.00                        $0.00              $96,000.00
Insulation, A BDI
Company,
Israel Martinez
17525 Catalpa
Street, Suite 109
Hesperia, CA 92345
Bacco Mechanical                                                                                           $89,052.35                        $0.00              $89,052.35
Jeff McGowan
42913 Capital Drive,
Suite 109
Lancaster, CA 93535
Red Pen                                                                                                                                                         $52,711.92
Procurement
400 Glover Street SE
Marietta, GA 30060
SC Design, Inc/                                                                                            $38,000.00                        $0.00              $38,000.00
Pacific Western
Millwork
Ryan Johnson
42332 1/2 10th
Street West
Lancaster, CA 93534
San Bernardino Tax                                                                                                                                              $36,710.89
Collector
268 West Hospitality
Lane
San Bernardino, CA
92408
Fiber Care Baths,                                                                                          $17,064.00                        $0.00              $17,064.00
Inc
Galina Ponte
9832 Yucca Road
Adelanto, CA 92301
Global Plumbing                                                                                            $10,210.18                        $0.00              $10,210.18
and Fire Supply-
Radix F
Elizabeth Sarkisyan
723 Sonora Avenue
Glendale, CA 91201


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Global Premier Regency Palms Colton, LP                                                  Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Lacko Family                                                                                                                                                      $8,882.00
Survivors Trust
629 Camino de Los
Mares, Suite 206
San Clemente, CA
92673
Walker Windows                                                                                               $8,579.04                       $0.00                $8,579.04
Tina Occhipinti
1210 N. Kraemer
Blvd
Anaheim, CA 92806
JTC USA Holdings,                                                                                                                                                 $8,125.50
Inc.
99 Almadean
San Jose, CA 95113
Smart Accounting                                                                                                                                                    $800.00
and Tax
38930 Blacow Road
Suite C
Fremont, CA 94536
Rapid Duct Testing                                                                                                                                                  $700.00
401 N. Verdugo Rd
Glendale, CA 91206




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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Attorney or Party Name, Address, Telephone & FAX Nos.,                            FOR COURT USE ONLY
State Bar No. & Email Address
Garrick A. Hollander
1301 Dove Street, Suite 500
Newport Beach, CA 92660
949-720-4100 Fax: 949-720-4111
California State Bar Number: 166316 CA
ghollander@wghlawyers.com




     Debtor(s) appearing without an attorney
     Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                  CASE NO.:
            Global Premier Regency Palms Colton, LP
                                                                                  CHAPTER: 11




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 3 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: June 22, 2023                                                                      /s/ Christine Hanna
                                                                                         Signature of Debtor 1

Date:
                                                                                         Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: June 22, 2023                                                                      /s/ Garrick A. Hollander
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
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                       Global Premier Regency Palms Colton, LP
                       1900 Main Street Suite 315
                       Irvine, CA 92614


                       Garrick A. Hollander
                       Winthrop Golubow Hollander, LLP
                       1301 Dove Street, Suite 500
                       Newport Beach, CA 92660


                       Alta Finish & Stair Inc.
                       Victor Martinez
                       12625 Frederick Street #15290
                       Moreno Valley, CA 92553


                       Apple Valley Insulation, A BDI Company,
                       Israel Martinez
                       17525 Catalpa Street, Suite 109
                       Hesperia, CA 92345


                       Bacco Mechanical
                       Jeff McGowan
                       42913 Capital Drive, Suite 109
                       Lancaster, CA 93535


                       Christianbelle Electric Inc.
                       David Placencia
                       11580 I Avenue
                       Hesperia, CA 92345


                       Fiber Care Baths, Inc
                       Galina Ponte
                       9832 Yucca Road
                       Adelanto, CA 92301


                       Global Plumbing and Fire Supply- Radix F
                       Elizabeth Sarkisyan
                       723 Sonora Avenue
                       Glendale, CA 91201
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                   Huntington Hardware Co Inc.- Alta Finish
                   Diana Lam
                   340 W. Holt Avenue
                   Pomona, CA 91768


                   iBorrow Reit
                   Brett Kinigstein
                   12100 Wilshire Blvd, Suite 510
                   Los Angeles, CA 90025


                   JTC USA Holdings, Inc.
                   99 Almadean
                   San Jose, CA 95113


                   Lacko Family Survivors Trust
                   629 Camino de Los Mares, Suite 206
                   San Clemente, CA 92673


                   LOS ANGELES COUNTY TAX COLLECTOR
                   PO Box 54018, Los Angeles, CA 90054
                   Los Angeles, CA 90054-0018


                   NESF Fund Services Corp.
                   c/o NES Financial Corp.
                   Attn: Kelly E. Alton
                   50 W. San Fernando St Suite 300
                   San Jose, CA 95113


                   Rapid Duct Testing
                   401 N. Verdugo Rd
                   Glendale, CA 91206


                   RCB Equities #7, LLC
                   Brian Dror
                   5862 W. 3rd Street
                   Los Angeles, CA 90036
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                   Red Pen Procurement
                   400 Glover Street SE
                   Marietta, GA 30060


                   San Bernardino Tax Collector
                   268 West Hospitality Lane
                   San Bernardino, CA 92408


                   SC Design, Inc/ Pacific Western Millwork
                   Ryan Johnson
                   42332 1/2 10th Street West
                   Lancaster, CA 93534


                   Smart Accounting and Tax
                   38930 Blacow Road Suite C
                   Fremont, CA 94536


                   TriMark Orange County
                   Nikki Shishido
                   210 Commerce
                   Irvine, CA 92602


                   Urban Community Builders, LLC
                   Maher Nawar
                   1900 Main Street, Suite 315
                   Irvine, CA 92614


                   Walker Windows
                   Tina Occhipinti
                   1210 N. Kraemer Blvd
                   Anaheim, CA 92806


                   Warner Design
                   1510 Fashion Island Blvd Suite 2400
                   San Mateo, CA 94404
